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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                      CASE NO. 14-CV-80468-MIDDLEBROOKS/BRANNON

    SECURITIES AND EXCHANGE COMMISSION,

                                  Plaintiff,

    v.

    JCS ENTERPRISES, INC. d/b/a JCS
    ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
    JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                            Defendants.
    ____________________________________________/

      ORDER GRANTING RECEIVER’S SECOND INTERIM APPLICATION FOR AN
    ORDER APPROVING AND AUTHORIZING PAYMENT OF FEES AND EXPENSES OF
         THE RECEIVER AND HIS PROFESSIONALS WITH INCORPORATED
                         MEMORANDUM OF LAW

           THIS CAUSE comes before the Court on the Receiver’s Second Interim Application for

    an Order Approving and Authorizing Payment of Fees and Expenses of the Receiver and his

    Professionals with Incorporated Memorandum of Law (the “Application”) [DE ___] for the period

    of June 1, 2014 to November 30, 2014 (the “Application Period”).           I have reviewed the

    Application and am otherwise fully advised in the premises. After reviewing the Application,

    finding that the fees therein are reasonable, necessary, and consummate with the skills and

    experience required for the activities performed and described therein, I find that there is good

    cause to grant the Application.

           Accordingly, Paragraph 14 of the Court’s Order Reappointing Receiver [DE 173], the

    Court’s Order Granting Receiver’s Motion to Expand Receivership to Include My Gee Bo, Inc.

    [DE 26], and the Court’s Order Granting Receiver’s Motion to Expand Receivership to Include
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    JOLA Enterprises Inc. and PSCS Holdings, LLC [DE 168] it is hereby

           ORDERED AND ADJUDGED as follows:

           1.      The Application [DE _____ ] is GRANTED and APPROVED.

           2.      The total amount of fees incurred by the Receiver during the Application Period

    in the amount of $32,040.00 is hereby APPROVED.

           3.      The Receiver is AUTHORIZED to distribute to the Receiver the amount of

    $32,040.00.

           4.      The total amount of fees and costs incurred by the Receiver’s lead counsel, Sallah,

    Astarita & Cox, LLC, during the Application Period in the amount of $137,154.77 (comprised of

    $127,667.50 of fees and $9,477.27 of costs) is hereby APPROVED.

           5.      The Receiver is AUTHORIZED to distribute a payment to his lead counsel,

    Sallah, Astarita & Cox, LLC, the amount of $137,154.77 (comprised of $127,677.50 of fees and

    $9,477.27 of costs).

           6.      The total amount of fees and costs incurred by the Receiver’s counsel, Law Offices

    of Robert Carey, PL, during the Application Period in the amount of $92,106.00 (comprised of

    $90,454.00 of fees and $1,652.00 of costs) is hereby APPROVED.

           7.      The Receiver is AUTHORIZED to distribute a payment to the Receiver’s counsel,

    Law Offices of Robert Carey, PL, the amount of $92,106.00 (comprised of $90,454.00 of fees

    and $1,652.00 of costs).

           8.      The total amount of fees and costs incurred by the Receiver’s counsel, Akerman

    LLP, during the Application Period in the amount of $18,993.09 (comprised of $18,960.00 of fees

    and $33.09 of costs) is hereby APPROVED.

           9.      The Receiver is AUTHORIZED to distribute to the Receiver’s counsel, Akerman



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    LLP, the amount of $18,993.09 (comprised of $18,960.00 of fees and $33.09 of costs).

           10.     The total amount of fees and costs incurred by the Receiver’s forensic accountants,

    KapilaMukamal, LLP, during the Application Period in the amount of $248,595.66 (comprised

    of $248,866.40 of fees and $1,729.26 of costs) is hereby APPROVED.

           11.     The Receiver is AUTHORIZED to distribute to the Receiver’s forensic

    accountants, KapilaMukamal, LLP, during the Application Period the amount of $248,595.66

    (comprised of $248,866.40 of fees and $1,729.26 of costs).

           12.     The Receiver and his professionals are entitled to the above authorized

    distributions from assets now held by the Receiver from, in the possession or control of, or which

    may be received by, each respective Receivership entity on a pro rata basis.

           DONE AND ORDERED in Chambers in West Palm Beach, Florida this _______ day of

    ___________________, 2015.


                                                 _______________________________
                                                 DONALD M. MIDDLEBROOKS
                                                 UNITED STATES DISTRICT JUDGE


    Copies to: Counsel of Record




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